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 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:13-CR-00077-LJO-
                                        ) SKO (001)
11              Plaintiff,              )
                                        )
12       vs.                            )
                                        ) ORDER
13                                      )
                                        )
14                                      )
     ROBERT MURGUIA MARTINEZ,           )
15                                      )
                Defendant.              )
16                                      )
17

18
                                       ORDER
19
         Defendant, Robert Martinez’s conditions of pretrial
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     release shall be modified as follows:
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         1. The Defendant shall be permitted to travel by plane to
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     and from Irapuato, Guanajuato, Mexico, on Monday, April 28,
23
     2014, and returning no later than 11:59 p.m. on Thursday, May
24
     1, 2014.
25
         2. The Clerk of the Court shall release Defendant’s
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     passport the morning of April 28, 2014.
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         3. Defendant must meet with Pretrial Services Officer Dan
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     Stark before leaving on Monday, April 28, 2014.
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 1        4. Defendant and custodian must provide Pretrial Services
 2   Officer Dan Stark with telephone numbers and addresses of
 3   where they will be staying.
 4        5. Defendant must provide the flight itinerary for the
 5   trip to and from Irapuato, Guanajuato, Mexico.
 6        6. Defendant must surrender his passport upon return on
 7   May 1, 2014, or as soon thereafter as reasonable.
 8        7. All other pretrial conditions remain in full force and
 9   effect.
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     IT IS SO ORDERED.
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12     Dated:   April 25, 2014                  /s/ Barbara A. McAuliffe    _
13                                         UNITED STATES MAGISTRATE JUDGE

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